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 1                                                    Honorable John C. Coughenour

 2

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 6

 7
                          UNITED STATES DISTRICT COURT
 8                                  FOR THE
                         WESTERN DISTRICT OF WASHINGTON
 9
     UNITED STATES OF AMERICA,             )
10
                                           )    NO.    CR05-393JCC
11                            Plaintiff,   )
                                           )    ORDER CONTINUING TRIAL
12                      v.                 )    DATE AND PRETRIAL MOTIONS
                                           )    DEADLINE
13   KIRANPAL SANDHU, et al.,              )
                                           )
14                      Defendant.         )
                                           )
15
     TO:           THE CLERK OF THE COURT;
16

17   AND TO:       UNITED STATES PROSECUTING ATTORNEY;

18   AND TO:       HIS/HER ASSIGNED DEPUTY

19

20
           THIS MATTER comes before the Court on a Motion to Continue Pretrial
21
     Motions Date and Trial Date, submitted by defendants Kiranpal Sandhu,
22
     Musakarim Ahmach, Tai Chi Dang, Anthony Quang Dao, and Dung Quong
23   Phan. The Court has considered the Motion and all of the files and records
24   herein.
25
     ORDER CONTINUING TRIAL DATE AND                       JENNIFER CANNON-UNIONE
     PRETRIAL MOTIONS DEADLINE                               DIXON & CANNON, LTD.
                                                          216 1ST AVENUE S., SUITE 202
     PAGE 1 OF 4                                            SEATTLE, WA 98104-3454
                                                                  (206) 957-2247
                                                               (206) 957-2250 (FAX)
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 1

 2
     THIS COURT FINDS THAT:
 3

 4      1) This is a criminal case charging the defendants with participation in an

 5         international conspiracy to traffic in marijuana and ecstasy. The above-
 6         named defendants have moved for a continuance of the trial date
 7
           because they require additional time to prepare for trial. The
 8
           Government does not oppose the motion. Based on the facts set forth
 9

10
           in the pleadings, the Court makes the Findings and Order set forth

11         below.

12      2) This case is sufficiently complex such that it is unreasonable to expect
13
           adequate preparation for pretrial proceedings or for the trial itself within
14
           the current time limits, within the meaning of Title 18, United States
15
           Code, Section 3161(h)(8)(B)(ii).
16

17      3) Failure to grant a continuance in this case will likely deny the defendants

18         the reasonable time necessary for effective preparation for trial and
19         other pretrial proceedings, taking into account the exercise of due
20
           diligence. See Title 18, United States Code, Section 3161(h)(8)(B)(iv).
21
        4) Failure to grant such a continuance in this proceeding will likely result in
22
           a miscarriage of justice within the meaning of Title 18, United States
23

24         Code, Section 3161(h)(B)(i).

25
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 1      5) The ends of justice served by granting this continuance outweigh the
 2         interests of the public and the defendants in any speedier trial, within the
 3
           meaning of Title 18, United States Code, Section 3161(h)(8)(A).
 4
     THE COURT THEREFORE ORDERS THAT:
 5
        1) The motion to continue the trial date is granted.
 6
        2) The trial shall be continued from December 12, 2005 to April 17, 2006.
 7

 8      3) The Court further orders that all pretrial motions shall be filed on or

 9         before February 21, 2006.
10
        4) The period of time from the current trial date until the new trial date
11
           encompassed by this continuance shall be excluded from the
12
           computation of time under the Speedy Trial Act, Title 18, United States
13

14         Code, Section 3161 et seq.

15      5) Defendants shall file a speedy trial waiver encompassing the excluded

16         time period no later than December 10, 2005.
17

18

19                 DONE IN OPEN COURT this 1st day of December, 2005.

20




                                                   A
21

22

23
                                                   John C. Coughenour
24
                                                   United States District Court Judge
25
     ORDER CONTINUING TRIAL DATE AND                            JENNIFER CANNON-UNIONE
     PRETRIAL MOTIONS DEADLINE                                    DIXON & CANNON, LTD.
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 1

 2

 3   Presented by:
 4
                                        ____/s/____Jennifer Cannon-Unione___
 5
                                        Jennifer Cannon-Unione, WSBA # 27008
 6                                      Counsel for Kiranpal Sandhu

 7                                      ____/s/__Hunter MacDonald__________

 8                                      Hunter MacDonald, WSBA # 22857
                                        Counsel for Musakarim Ahmach
 9

10                                      ____/s/__Suzanne Lee Elliott_________
11                                      Suzanne Lee Elliott, WSBA # 12634
                                        Counsel for Dung Quoc Phan
12
                                        ____/s/__Robert Goldsmith___________
13
                                        Robert Goldsmith, WSBA # 12265
14                                      Counsel for Anthony Quang Dao
15
                                        ____/s/__Lee Covell________________
16
                                        Lee Covell, WSBA # 952
17                                      Counsel for Tai Chi Dang

18   Copy Received; Approved:

19

20    /s/ Jill Otake
     Jill Otake
21   Assistant United States Attorney
22

23

24

25
     ORDER CONTINUING TRIAL DATE AND                          JENNIFER CANNON-UNIONE
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